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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                          :
                                                  :
       v.                                         :      Criminal Action No.: 21-0687 (RC)
                                                  :
DAVID CHARLES RHINE,                              :
                                                  :
       Defendant.                                 :
                                                  :

    MEMORIALIZATION OF BASES FOR THE COURT’S RESPONSES TO JURY

                               QUESTIONS ONE AND THREE

       During its deliberations, the jury asked several questions by note to the Court. The Court

herein memorializes the bases for its responses to questions one and three, which the parties

contested.


                                      I. QUESTION ONE

       The jury’s first question was: “Does the term ‘restricted building or grounds’ describe

the area because the Secret Service was present (because of the presence of VP Pence) OR does

the term ‘restricted building or grounds’ describe an area with posted signs describing it is

restricted, or cordoned off, or otherwise restricted? This refers to counts 1 and 2.” Jury Notes at

1, ECF No. 100.

       Upon review, the Court found that the text of 18 U.S.C. § 1752, under which Counts 1

and 2 were charged, does not support interpreting the definition of “restricted buildings or

grounds” to require proof that such restrictions were put in place because of a visit by a Secret

Service protectee. First, the offense conduct is described in § 1752(a)(1) and (a)(2) without

reference to any Secret Service protectee. More importantly, it is clear that Congress knew how
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to include causal language if it wanted to. The definition of “restricted buildings or grounds”

relevant to the present counts provides that the term “means any posted, cordoned off, or

otherwise restricted area . . . of a building or grounds where the President or other person

protected by the Secret Service is or will be temporarily visiting.” § 1752(c)(1)(B). But the next

subparagraph provides an alternative definition: “any posted, cordoned off, or otherwise

restricted area . . . of a building or grounds so restricted in conjunction with an event designated

as a special event of national significance.” § 1752(c)(1)(C). Congress could have used similar

language in subparagraph (c)(1)(B), for example by drafting the definition to read: “any posted,

cordoned off, or otherwise restricted area . . . of a building or grounds so restricted in

conjunction with a visit of the President or other person protected by the Secret Service.” That

Congress declined to do so strongly suggests that it did not intend to require proof of causation.

       This question is related that one posed in Defendant’s motion to dismiss Counts 1 and 2

of the Information. In relevant part, Defendant argued that Counts 1 and 2 failed to state an

offense because the Information failed to “allege that the [Secret Service] designated the area in

question as being restricted” even though “it is the Secret Service who must designate that area

‘restricted.’” Def.’s Mot. Dismiss Counts 1 and 2 at 5–6, ECF No. 46. The Court rejected that

argument, noting that it had rejected a “nearly identical” argument in another January 6 case,

United States v. Andries, No. 21-cr-0093, 2022 WL 768684, at *12–17 (D.D.C. March 14, 2022),

and that Defendant made “no attempt to distinguish the present case.” Mem. Op. at 14, ECF No.

79. While the question of which agency may restrict an area is distinct from the question of

whether the area must be restricted because of a visit by a Secret Service protectee, they are

related in that they both implicate the policy objectives served by the statute. As the Court

explained in Andries, that § 1752 does not say “who must restrict the area . . . makes policy




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sense,” as it “extends the law’s protection of Secret Service protectees to areas where sufficient

physical restrictions may already exist, such as military facilities, or where partner federal or

local authorities are willing to assist with setting restrictions (such as the Capitol Police on

January 6), without requiring the Secret Service to set up unnecessary additional physical

restrictions.” Andries, 2022 WL 768684, at *15. Similarly, here, reading § 1752 to require that

an area must have been restricted because of a specific visit by a Secret Service protectee would

sharply limit the “law’s protection of Secret Service protectees” in ways inconsistent with the

security interests served by the statute. 1 Id.

        For these reasons, the Court provided the following response to the jury in open court:

“The definition of, quote, restricted building or grounds, end quote, does not require that any

restrictions had been created because of a specific visit by a Secret Service protectee.”




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          During argument, Defense counsel pointed to language included in a footnote in the
Court’s decision denying Defendant’s Motion to Dismiss Counts 1 and 2. That footnote
addressed “Defendant’s three-sentence argument that the statute ‘includes no causal nexus
between restriction of the area and the visit, or anticipated visit of a Secret Service protectee.”
Mem. Op. at 22 n.7, ECF No. 79 (citing Def.’s Mot. Dismiss Counts 1 and 2 at 24, ECF No. 46).
The Court stated: “this is precisely the function of § 1752(c), which defines ‘restricted buildings
or grounds’ to include a restricted area of a ‘a building or grounds where [a Secret Service]
protectee] is or will be temporarily visiting.” Id. (citation omitted). But the Court offered this
explanation in the very different context of Defendant’s vagueness challenge. In that context, the
Court’s analysis focused on § 1752(c)’s “function” to define and limit when a Defendant may be
prosecuted under the statute. The Court did not adopt Defendant’s “causal nexus” language;
rather it used the statutory language itself to explain its functionally similar tendency to connect
the prohibited conduct—entering or remaining under § 1752(a)(1), and disorderly or disruptive
conduct under § 1752(a)(2)—to an area where a Secret Service protectee is or will be
temporarily visiting, such that the statute provides fair notice of the conduct it prohibits and does
not invite arbitrary enforcement. At the same time, the Court stressed the “good reason for
flexibility in where and how long an area can be restricted under § 1752, as Secret Service
protectees tend to have busy and unpredictable schedules.” Mem. Op. at 24, ECF No. 79. Here,
presented with the jury’s different question of whether § 1752 requires the Government to prove
that a restricted area was created because of a visit by a Secret Service protectee, use of the
ordinary tools of statutory interpretation compelled the answer that it does not.


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                                      II. QUESTION THREE

        The jury’s third question was: “In count one, element two, must the defendant ‘know’

that VP Pence was in or will be in the restricted area in order for us to find this particular[]

element met?” Jury Notes at 1.

        Upon review, the Court found that § 1752(a)(1) does not require knowledge that a Secret

Service protectee was in or planning to be in the restricted area. The text of the subsection

makes it a crime to “knowingly enter[] or remain[] in any restricted building or grounds without

lawful authority to do so,” while the definition in § 1752(c)(1)(B) merely defines “restricted

buildings or grounds” with reference to an area visited by a Secret Service protecee. Nowhere

does the statute even suggest that the defendant must know the details of the visit. Indeed, a

contrary reading would defeat the protective purpose of the statute, as some degree of secrecy is

often integral to Secret Service protection. See Gov’t’s Mot. Limit Cross-Exam. at 2, ECF No.

39 (“[T]he very nature of the Secret Service’s role in protecting the Vice President and his family

implicates sensitive information related to that agency’s ability to protect high-ranking members

of the Executive Branch . . . .”).

        For these reasons, the Court provided the following response to the jury in open court:

“Count [1] 2 does not require that the defendant have knowledge that a Secret Service protectee is

or will be visiting or the timing of that visit.”




Dated: April 24, 2023                                                RUDOLPH CONTRERAS
                                                                     United States District Judge


        2
           The Court misspoke and said “Count 2” when providing this response to the jury
initially, but recalled the jury and clarified that its response also applied to Count 1 upon
realizing the error.


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